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                               IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                  :
 Ryan Quarles,                                                    :
 Plaintiff.                                                       :
                                                                  :
 v.                                                               :
                                                                  :
 Philadelphia Police Officers                                     :
 Matthew Ponente, Badge # 7384,                                   : Civil Action No.
 Rozman, Badge #7079,                                             :
 Aaron Turner, Badge # 9439,                                      :
 Tilghman, Badge 6338, and                                        :
 Sgt. McCabe, Badge # 403                                         :
 Defendants.                                                      :
                                                                  :


                                  CASE MANAGEMENT TRACK DESIGNATION FORM

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for plaintiff shall complete a Case
Management Track Designation Form in all civil cases at the time of filing the complaint and serve a copy on all defendants.
(See § 1:03 of the plan set forth on the reverse side of this form.) In the event that a defendant does not agree with the plaintiff
regarding said designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the plaintiff
and all other parties, a case management track designation form specifying the track to which that defendant believes the case
should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus -- Cases brought under 28 U.S.C. §2241through § 2255.                               (   )

(b) Social Security -- Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                    (   )

(c) Arbitration -- Cases required to be designated for arbitration under Local Civil Rule 53.2.       (   )

(d) Asbestos -- Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                             (   )

(e) Special Management -- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                                (   )

(f) Standard Management -- Cases that do not fall into any one of the other tracks.                   (X)


06/24/2021                   /s/ Shannon Zabel, Esq.                      Defendants_________________________
Date                          Shannon Zabel, Esq.                         Attorney for

 (215) 683-5114                   (215) 683-5397                          shannon.zabel@phila.gov
_________________          __________________________                     _____________________ ________
Telephone                   FAX Number                                    E-mail Address

(Civ. 660) 10/02
